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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10               Plaintiff,                        DEFENDANT’S REPLY IN SUPPORT OF
                                                   DEFENDANT’S EX PARTE
11                      v.                         APPLICATION FOR ORDER
                                                   CONTINUING TRIAL DATE AND
12                                                 FINDING EXCLUDABLE TIME
     MICHAEL JOHN AVENATTI,
13
                 Defendant.
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           Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
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     counsel of record, H. Dean Steward, hereby files this reply in support of his Ex Parte
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     Application for Order Continuing Trial Date and Finding Excludable Time.
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      Dated: June 10, 2021                     Respectfully submitted,
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23                                            /s/ H. Dean Steward
                                               H. DEAN STEWARD
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                                               Attorney for Defendant
25                                             MICHAEL JOHN AVENATTI
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 1   I.    ARGUMENT
 2         A.     An Expert Witness is Permitted to Testify as to Mental Condition. The
 3   government argues that an expert witness cannot opine as to a witness’ mental condition
 4   and is not permitted to testify specifically to a witness’ credibility. Opposition at 8:11-
 5   15. The government cites United States v. Rivera, 43 F.3d 1291 (9th Cir. 1995) in
 6   support. The Court is urged to read this case because it does not stand for the
 7   proposition claimed by the government. Rivera stands for the unremarkable proposition
 8   that an expert cannot be called to bolster a witness’ credibility. It says nothing about
 9   having an expert opine as to a witness’ serious mental illness and how that illness
10   impacts a witness’ ability to accurately recall facts and details. Further, the
11   government’s position is undercut by numerous state and federal cases holding to the
12   contrary. See Seidel v. Merkle, 146 F.3d 750 (9th Cir. 1998); Bloom v. Calderon, 132
13   F.3d 1267, 1277 (9th Cir. 1997); Aguirre v. Alameida, 120 Fed. Appx. 721 (2005);
14   Boyko v. Parke, 259 F.3d 781, 784 (7th Cir. 2001); Doe v. Superior Court, (1995) 39
15   Cal. App. 4th 540, 541 fn. 2 (“Expert testimony on . . . PTSD is routinely admitted in
16   criminal trials in California and other states and no one suggests they are not recognized
17   psychiatric conditions.” (citations omitted)).
18         Moreover, the government’s suggestion that the defense can simply cross-examine
19   Employee 1 as to her mental illness is nonsensical. Individuals diagnosed with serious
20   mental deficiencies such as PTSD are not capable of explaining to a jury the cognitive
21   effects of the illness, how it impacts their brain, and how it may impact their ability to
22   truthfully testify and accurately recall detailed facts. See, e.g., Exhibits B and C attached
23   to the Application. (Dkt. 484). Indeed, the defense submits that most individuals
24   suffering from mental conditions likely would inform a jury that they are “just fine” and
25   have a near perfect memory, when nothing could be further from the truth. This is why
26   an expert is needed, and indeed required, in situations involving witnesses with mental
27   illness. Lastly, the defense is entitled not only to present expert testimony on the topic of
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 1   Employee 1’s mental condition, but is also entitled to discovery as to her mental health
 2   records prior to her and the expert’s testimony. See Pennsylvania v. Ritchie, 480 U.S.
 3   39, 56 (1987)(finding due process entitles a criminal defendant to have a witness’s
 4   potentially privileged records reviewed in camera for material evidence and use at trial).
 5         B.     Employee 1’s Mental Condition in the Months Leading Up to Her
 6   Testimony and When Testifying is Highly Relevant. In opposition, the government
 7   goes so far as to claim that a witness’ mental condition at the time of testifying is not
 8   relevant and is a collateral matter. Opposition at 8:25-9:17. This argument is obviously
 9   without any basis in the law; it is also directly contrary to years of jurisprudence. See
10   Charles Allen Wright & Victor James Gold, Federal Practice and Procedure § 6097
11   (1990); Michael Graham, Handbook of Federal Evidence, § 607.4 (4th ed. 1996). This is
12   why the cases cited by the government do not support the government’s claim. For
13   instance, United States v. Kohring, 637 F.3d 895 (9th Cir. 2011) and the other cases cited
14   by the government are easily distinguishable as they do not involve the situation here,
15   where you have a key government witness with a current diagnosed mental illness who
16   the government seeks to call in its case in chief. The relevance of this is obvious.
17         C.     The Client Counts Were Not All Charged When Employee 1 Was First
18   Interviewed. The government claims in their opposition that defendant was charged and
19   arrested before the government interviewed Employee 1.1 Opposition at 7:17-20. This
20   is half true at best. Mr. Avenatti was initially charged on March 22, 2019 by way of a
21   criminal complaint; that complaint included only one of the client counts that is at issue
22   in the upcoming trial. [Dkt. 1.] Only after AUSA Sagel had interviewed Employee 1 for
23   five hours on March 25, thousands of pages of materials had been seized from her home,
24   and the government had further contacts with Employee 1 in the days and weeks that
25   followed, was the government able to later indict Mr. Avenatti on the other nine client
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27    In the Application, the defense went to considerable lengths not to disclose Employee 1’s
     name for privacy reasons. In opposition, the government unfortunately did not protect her
28   privacy (see Opposition Exhibit 5), resulting in her name being disseminated.
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 1   counts. [Dkt. 16.] Further, the government does not dispute that Employee 1 will be
 2   called as a witness nor can they – she is in many instances the sole link between the
 3   alleged transactions and any alleged criminal conduct by Mr. Avenatti (as evidenced by
 4   the government’s own search warrant application targeting Employee 1).
 5         D.     The Withheld Information is Brady and Should Have Been Disclosed
 6   Last Year. The government does not dispute that it never disclosed the details of
 7   Exhibit A and Employee 1’s PTSD diagnosis before last week.2 Nor does the
 8   government offer any legitimate excuse as to why they failed to provide this highly
 9   relevant information to the defense a year ago. Instead, the government argues the
10   information at best is Giglio and Jencks. The government is wrong. First, Giglio is
11   Brady. Second, the Ninth Circuit has held that Brady encompasses all favorable
12   evidence, without regard to materiality. See, e.g., United States v. Bundy, 968 F.3d
13   1019, 1033 (9th Cir. 2020); United States v. Price, 566 F.3d 900 (9th Cir. 2009). The
14   information should have been produced last year but was instead kept from the defense.
15         E.     Defense Counsel Did Not Contact a Represented Witness. The
16   government claims that undersigned counsel contacted Employee 1, who was
17   represented in this case by counsel at the time. Opposition at 6:16-7:5. The government
18   knows this is not accurate. As explained in paragraph 12 of the Application, defense
19   counsel approached Employee 1 on March 15, March 22 and March 26 of this year. She
20   never responded and instead immediately and directly informed the government. Days
21   later, on March 30, Mr. Donohue, civil counsel for Employee 1, contacted defense
22   counsel and informed him that Employee 1 was represented by him in two related civil
23   matters. See Opposition Exhibit 5. Mr. Donohue has never represented Employee 1 in
24   this case and defense counsel was never informed Employee 1 was represented by any
25   lawyer in this case until late April 2021 (she is now represented by Mr. John Barton).
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27    It was recently discovered in the Nike-related matter that critical Jencks Act materials were
     withheld by the USAO-SDNY and USAO-CDCA prior to Employee 1’s trial testimony, which
28   explains why she was not cross-examined in that case. See Dkt. 315 (SDNY, 19Cr.373 (PGG)).
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 1    Dated: June 10, 2021                 Respectfully submitted,
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                                          /s/ H. Dean Steward
 3                                         H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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 1                                CERTIFICATE OF SERVICE
 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3   age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
 4   am not a party to the above-entitled action. I have caused, on June 11, 2021, service of
 5   the defendant’s:
 6
     REPLY IN SUPPORT OF DEFENDANT’S EX PARTE APPLICATION FOR ORDER
 7         CONTINUING TRIAL DATE AND FINDING EXCLUDABLE TIME
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 9   on the following party, using the Court’s ECF system:
10   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11   I declare under penalty of perjury that the foregoing is true and correct.
12   Executed on June 11, 2021
13                                           /s/ H. Dean Steward
14                                           H. Dean Steward
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